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                      EXHIBIT D
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   NYOKA JUNE LEE AND TALALA MSUJA




                                 U.S. DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION


   UNITED STATES OF AMERICA,                  CASE NO. CV 07-01984 PSG (MANx)
   EX REL. NYOKA LEE and
   TALALA MSHUJA,                           PLAINTIFF’S INITIAL DISCLOSURES
                    Plaintiff,
                                            Date: September 17, 2012
           v.                               Time: 2:00 p.m.
                                            Place: Courtroom 880
   CORINTHIAN COLLEGES INC.,                Judge: Hon. Philip S. Gutierrez
   et al.,
                    Defendants.

           Pursuant to Federal Rule of Civil Procedure 26(a), Plaintiff makes its

   Initial Disclosures to Defendants. Plaintiff reserves the right to supplement

   these disclosures as additional discovery and investigation develops.

   (i)     the name and, if known, the address and telephone number of
           each individual likely to have discoverable information—along
           with the subjects of that information—that the disclosing party
           may use to support its claims or defenses, unless the use would be
           solely for impeachment;



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          1.       Nyoka June Lee, Relator
          2.       Talala Mshuja, Relator
          3.       Steven Fuhr, Relator in United States ex rel. Fuhr v. Corinthian
                   Colleges, No. 8:07-cv-01157-AG-CW, Central District of
                   California
          4.       Stephen Backhus, Relator in United States ex rel. Backus v.
                   Corinthian Colleges, No. 07 Civ. 891-T30, Middle District of
                   Florida
          5.       William B. Buchanan, V-P of Marketing, Corinthian Colleges
          6.       David G. Moore
          7.       Jack D. Massimino
          8.       Peter C. Waller
          9.       Carolyn Bankston, recruiter, Bryman College, San Francisco
          10.      Michelle Jones, recruiter, Bryman College, San Francisco
          11.      Beverly Sanderford, Bryman College, San Jose
          12.      Cary Kaplan, director of admissions, Bryman College, San
                   Francisco
          13.      Terry Hearty, president, Bryman College, Hayward
          14.      Chris Vanness, district manager ----
          15.      George Greyhab, district manager, Bryman College
          16.      Tim Lee, district manager
          17.      Al Plant, president, Bryman College, San Francisco
          18.      Earon B. Mackey, director of admissions, Bryman College, San
                   Francisco
          19.      Jim Martin, v-p of marketing and sales, Corinthian Colleges

   (ii)         a copy—or a description by category and location—of all
                documents, electronically stored information, and tangible things
                that the disclosing party has in its possession, custody, or control
                and may use to support its claims or defenses, unless the use
                would be solely for impeachment;

   “Confidential & Privileged Disclosure Statement” made to the U.S.
   Department of Justice pursuant to 31 U.S.C. §§ 3730(e)(4)(b) and
   3730(b)(2), including 402 pages of internal communications between
   Corinthian Colleges and Relator Nyoka Lee. According to United States ex
   rel. Bagley v. TRW, 212 F.R.D. 554 (C.D. Cal. 2003), such material is
   protected by the work product doctrine. “[A] written disclosure of
   substantially all material evidence and information the person possesses” is
   included in 31 U.S.C. §3730(b)(2).


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   (iii)   A computation of each category of damages claimed by the
           disclosing party—who must also make available for inspection
           and copying as under Rule 34 the documents or other evidentiary
           material, unless privileged or protected from disclosure, on which
           each computation is based, including materials bearing on the
           nature and extent of injuries suffered; and

           The net revenues received by Corinthian Colleges, Inc. under the Title

   IV, Higher Education Act student financial aid programs for the years 2004-

   2010:

   2005          $ 908,934,000
   2006          $ 907,815,000
   2007          $ 919,224,000
   2008          $1,068,671,000
   2009          $1,307,825,000
   2010          $1,763,797,000


           Of this amount, Pell Grants were distributed to Corinthian Colleges

   during the time the violations were being carried out, to-wit:


   2005          $140,000,000
   2006          $140,000,000
   2007          $170,000,000
   2008          $220,000,000
   2009          $325,000,000
   2010          $509,000,000

           In addition, all defaulted student loans during the period 2004-2010

   are damages under the False Claims Act.


   (iv)    for inspection and copying as under Rule 34, any insurance



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         agreement under which an insurance business may be liable to
         satisfy all or part of a possible judgment in the action or to
         indemnify or reimburse for payments made to satisfy the
         judgment.

   None Applicable.


   DATED: September 10, 2012                 SCOTT D. LEVY & ASSOCIATES PC

                                             By:    /s/ Scott D. Levy___________
                                                        SCOTT D. LEVY
                                             Attorney for Relators
                                             NYOKA JUNE LEE, TALALA
                                             MSHUJA




                          CERTIFICATE OF SERVICE

         I Scott D. Levy hereby certify that I served a copy of the above

   Plaintiff’s Initial Disclosures by email, this 10th day of September 2012, on

   Counsel for Defendants:

   Blanca Young

   Robert Hubbell

                                         _________//SDL//__________




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